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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                   Case No.: 9:16-cv-81798-DMM


  TTT Foods Holding Company LLC,
  a Florida limited liability company,

                 Plaintiff,

  v.


  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey
  limited liability company,

              Defendants.
  _________________________________/


                              RESPONSE TO ORDER TO SHOW CAUSE

         COME NOW the Defendants, BEATRICE NAMM, an individual, JONATHAN NAMM,

  an individual, and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability

  company, by and through the undersigned attorneys, and file this their Response to Order to

  Show Cause, and state in support thereof as follows:

                 1.      Regardles of the showing made herein, which the undersigned believes

  establishes good cause for not filing a response to the Motion to Strike (DOC 28), the

  undersigned profusely appologizes to the Court for any and all inconvenience cause to the Court

  by the undersigned.



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                 2.     On November 29, 2016, Defendant filed their answer and affirmative

  defenses (DOC 23).

                 3.     A party may amend an answer within twenty days of its filing without

  obtaining leave of the Court or consent from the opposing party. Fed. R. Civ. P. 15(a)(1)(B).

                 4.     On December 5, 2016, Plaintiff filed the Motion to Strike (DOC 28)

  addressed to the Defendants’ answer and affirmantive defense (DOC 23).

                 5.     Defendants decided to file an amended responsive pleading as allowed by

  Fed. R. Civ. P. 15(a)(1)(B), instead of responding to the Motion to Strike (DOC 28).

                 6.     Defendants’ Amended Answer and Affirmative Defenses (DOC 29) were

  timely filed on December 17, 2016, as allowed by Fed. R. Civ. P. 15(a)(1)(B).

                 7.     It was, and is, the undersigned’s belief that Defendant’s amended answer

  and affirmative defenses (DOC 29) supersedes the original answer and affirmative defenses

  (DOC 23), to which the Motion to Strike (DOC 28) is directed. See also Malowney v. Fed.

  Collection Deposit Grp., 193 F.3d 1342, 1345 n.1 (11th Cir. 1999) ("An amended complaint

  supersedes an original complaint."); Varnes v. Local 91, Glass Bottle Blowers Ass'n, 674 F.2d

  1365, 1370 n.6 (11th Cir. 1982) ("As a general rule, an amended complaint supersedes and

  replaces the original complaint unless the amendment specifically refers to or adopts the earlier

  pleading.").

                 8.     Further, Defendants’ amended answer and affirmative defenses (DOC 29)

  renders moot the Motion to Strike (DOC 28) the original affirmative defenses (DOC 23) because

  the motion seeks to strike a pleading that has been superseded. See Renal Treatment


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  Ctrs.—Mid-Atlantic, Inc. v. Franklin Chevrolet-Cadillac-Pontiac-GMC, No. 608CV87, 2009

  U.S. Dist. LEXIS 30975, 2009 WL 995564, at *1 (S.D. Ga. Apr. 13, 2009) (noting that a

  pleading superseded by an amended complaint was "entirely irrelevant," and therefore

  concluding that the motion to dismiss the original pleading was moot); Gulf Coast Recycling,

  Inc. v. Johnson Controls, Inc., No. 8:07-CV-2143-T-30TBM, 2008 U.S. Dist. LEXIS 11269,

  2008 WL 434880, at *1 (M.D. Fla. Feb. 14, 2008) (concluding that the motion to dismiss was

  moot following the filing of the amended complaint because "[a]n amended complaint

  completely supersedes the original complaint, and once a complaint is amended, the only issues

  before the Court are the ones raised in the text of the amended complaint"); Mizzaro v. Home

  Depot, Inc., No. Civ. A. 1:06-CV-11510, 2007 U.S. Dist. LEXIS 59781, 2007 WL 2254693, at

  *3 (N.D. Ga. July 18, 2007) (Evans, J.) (dismissing as moot a motion to dismiss addressing the

  original complaint following defendants' acceding to the filing of an amended complaint).

                 9.     If the undersigned is incorrect and has misinterpreted the pertinent law or

  procedure, the undersigned profusely apologizes to the Court and if the undersigned is incorrect

  and a response to Plaintiff’s Motion to Strike (DOC 28) addressed to their original responsive

  pleading (DOC 28) is required, the undersigned would request notice of same and five (5)

  business days to respond from the date of the notice.

         WHEREFORE the Defendants request that this Court accept the foregoing showing of

  good cause. Furthermore, if the undersigned is incorrect and a response to Plaintiff’s Motion to

  Strike (DOC 28) is still required, the undersigned would request notice of same and five (5)

  business days to respond from the date of the notice.


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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 22, 2016, I sent a true and correct copy of the
  foregoing by E-mail delivery John E. Page, counsel for Plaintiff (jpage@sflp.law) and Bernice C.
  Lee, counsel for Plaintiff (blee@sflp.law).

                                                     /s/ Agustin R. Benitez
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